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UNITED STATES DISTRICT COURT
DISTRlCT oF HAWAH

CaseNo_CR].g 00015 JMS

 

 

UNITED STATES OF AMERICA,

Plaintiff» NoTICE oF RELATED CASE
V.

RUDOLPH B. PUANA (] ),
KATHERINE P. KEALOHA (2),
Defendants.

 

 

NOTICE OF RELATED CASE(S)
Pursuant to HaWaii Local Rule 40.2 and Crirn. Local Rule 12.3, the Special
Attorneys of the United States give notice herein that the above-captioned

Indictment involves a defendant that is currently before the District CouIt in two

. ,CaSe 1:19-Cr-00015-.]|\/|S Document 4 Filed 02/07/19 Page 2 of 2 Page|D #: 54

related matters: United States v. KEALOHA et al., CR NOS. 17-00582-IMS and-18-
OOOGS-JMS.
DATED: February 7, 2019, at Honolulu, Hawaii.
Respectidlly Submitted,
MATTHEW G. WHITAK_ER
Acting Attomey General

ROBERT S. BREWER, JR.
United tates Attorney

 

 

I'CHAEL G. WHEAT
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